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                                                  U.S. Department of Justice

                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                       January 17, 2022

BY ECF

The Honorable Jesse M. Furman
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

        Re:     United States v. Michael Avenatti, 19 Cr. 374 (JMF)

Dear Judge Furman:

        The Government respectfully submits this letter in advance of the final pretrial conference
scheduled for January 18, 2022, at 11:15 a.m., to provide an update regarding the defendant’s
purported advice-of-counsel defense to his failure to file income taxes on behalf of himself or any
of his law firm entities for the tax years 2018 and 2019. Although the Government does not
presently intend to offer evidence of the defendant’s failure to file tax returns, the Government
may renew its application and the Court should permit the Government to offer such evidence, or
hold a hearing as necessary, in the event that the defendant further opens the door to such evidence
through argument or questioning of witnesses, such as regarding the purported legitimacy or
regularity of his business or personal finances, or if the defendant elects to testify at trial.

   I.         Background

        As the Court is aware, the Government moved in limine to admit evidence of his and his
law firm entities’ failure to file tax returns for the tax years 2018 and 2019. (Gov’t Mot. in Limine
9-13 (Dkt. No. 176); Gov’t Reply 11-12 (Dkt. No. 197).) Setting aside the defendant’s alleged
advice-of-counsel defense to his failure to file tax returns, the Court has ruled that the
Government’s proffered “evidence would clearly be admissible,” that is, “it is relevant and
probative . . . and not substantially outweighed by any danger of prejudice.” (1/13/21 Tr. 20; see
also Tr. 13-15 (citing cases).) The Court further ruled that the Government “is entitled to test [the
defendant’s] assertion” of an advice-of-counsel defense, “and if it doesn’t think that there is a valid
defense to challenge it and if I need to hold a hearing outside the presence of the jury to determine
whether it is valid to then determine whether the evidence comes in without any discussion of that,
I’m prepared to do that.” (Tr. 24.)

         On January 14, 2022, the defendant provided to the Government a declaration from
H. Dean Steward, Esq. (attached hereto as Exhibit 1), in which Mr. Steward stated, in part, that,
“[i]n light of Mr. Avenatti’s Fifth Amendment rights, the pending financial related charges against
Mr. Avenatti, and the potential for additional charges, I have advised Mr. Avenatti during multiple
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discussions beginning in early 2019 and continuing thereafter not to file any personal or business-
related state or federal tax returns for the years 2018-2020.” (Ex. 1 ¶ 2.)

        On January 15, 2022, the Government asked the defendant “(1) whether there are any
contemporaneous communications regarding the purported advice that Mr. Steward gave to the
defendant regarding filing tax returns for tax years 2018-2019 and, if so, whether you will provide
those to us and (2) whether Mr. Steward advised the defendant that that he did not have to file
returns or provide financial information to the IRS for tax years 2018-2019 because of the
protection against self-incrimination found in the Fifth Amendment.”

        On January 16, 2022, the defendant responded that “there are no contemporaneous written
or recorded communications to produce.” After the parties conferred further, on January 17, 2022,
the defendant provided to the Government a supplemental declaration from Mr. Steward (attached
hereto as Exhibit 2), in which Mr. Steward stated, in part: “The advice I described in paragraph 2
of [the prior declaration] included advice to Mr. Avenatti that not filing the state and federal tax
returns I referenced was permitted and lawful for the reasons I stated in my prior declaration,
including because Eagan Avenatti, LLP had a receiver appointed in February 2019, which I
understood prevented Mr. Avenatti from filing any tax returns for that entity, and Mr. Avenatti’s
right to invoke the Fifth Amendment.” (Ex. 2 ¶ 2.)

   II.      Applicable Law

         A. Advice-of-Counsel Defense

        “[T]o benefit from an advice-of-counsel defense, a party must show that he (1) ‘honestly
and in good faith’ sought the advice of counsel; (2) ‘fully and honestly la[id] all the facts before
his counsel’; and (3) ‘in good faith and honestly follow[ed]’ counsel’s advice, believing it to be
correct and intending that his acts be lawful.” United States v. Colasuonno, 697 F.3d 164, 181 (2d
Cir. 2012) (quoting Williamson v. United States, 207 U.S. 425, 453 (1908)). “Each requirement
must be satisfied.” Id.

         B. No Fifth Amendment Protection for Failure to File Tax Returns

        “It is well settled that the Fifth Amendment does not provide a blanket defense for a failure
to file tax returns.” United States v. Josephberg, 562 F.3d 478, 492 (2d Cir. 2009) (citing
California v. Byers, 402 U.S. 424, 434 (1971); United States v. Sullivan, 274 U.S. 259, 264 (1927)).
“Although a taxpayer may, on his return, invoke his Fifth Amendment privilege selectively as to
any particular item of information solicited, there is no constitutional right to refuse to file an
income tax return.” Id. (internal quotation marks omitted) (citing Sullivan, 274 U.S. at 264; Byers,
402 U.S. at 434; United States v. Barnes, 604 F.2d 121, 148 (2d Cir. 1979)). “This principle has
been applied even where there is an ongoing investigation into the taxpayer’s affairs.” Id. (citing
cases). Accord McDougall v. C.I.R., 15 F.3d 1087, 1993 WL 539267, at *1 (9th Cir. 1993) (“A
fifth amendment claim of self-incrimination does not justify an outright refusal to file a tax
return. To invoke the fifth amendment, a taxpayer must file some type of tax return and indicate
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why response to specific questions would be incriminating.” (internal citations omitted)); United
States v. Neff, 615 F.2d 1235, 1241 (9th Cir. 1980) (the Fifth Amendment “privilege does not
justify an outright refusal to file any income tax return at all” (citing Sullivan, 274 U.S. at 263)).

    III.   Discussion

         The declarations provided by Mr. Steward, if credited, suggest that the defendant was given
demonstrably erroneous advice that, under the Fifth Amendment, it was “lawful” for him to refuse
to file tax returns for himself and his law firm entities. (Ex. 2 ¶ 2.) To the extent this advice was
given—by a criminal defense attorney to a then-practicing trial attorney—it was transparently
incorrect. See, e.g., Josephberg, 562 F.3d at 492; Neff, 615 F.2d at 1241. (See also Tr. 20-21
(THE COURT: “I don’t quite understand why somebody who is under indictment or a microscope
of multiple investigations would not file tax returns. That seems to be just digging a deeper hold
and raising a separate issue that the government could come after someone for. So I don’t quite
understand the theory there or why counsel would have given that advice.”).) Nor is it at all
apparent why, even accepting the assertion that the fact of Eagan Avenatti LLP’s receivership in
February 2019 would have prevented the filing of 2018 tax returns for that entity, that fact would
have any bearing whatsoever on the defendant’s refusal to file personal income taxes or to file
income taxes for his other entities—including Avenatti & Associates APC, which received the
stolen funds in this case. Accordingly, the Government remains skeptical of the validity of the
purported advice-of-counsel defense, especially in light of the lack of any contemporaneous
memoranda, notes, or communications between the defendant and Mr. Steward, despite the alleged
“multiple discussions [between Mr. Steward and the defendant] beginning in early 2019 and
continuing thereafter.” (Ex. 1 ¶ 2.)

        Notwithstanding that skepticism, in light of the foregoing and the Court’s comments
concerning the application of the Rule 403 balancing test in this context (see Tr. 24), the
Government is not presently planning to offer in its case-in-chief evidence of the defendant’s
refusal to file tax returns for himself and his law firm entities for the tax years 2018 and 2019.
However, the Government respectfully reserves its right to seek the Court’s permission to offer
such evidence in the event that the defendant further opens the door to such evidence through
argument or questioning of witnesses, such as regarding the purported legitimacy or regularity of
his business or personal finances, or if the defendant elects to testify at trial. 1




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       In the event the defendant opens the door or testifies, the Government likely will request
that Court “hold a hearing outside the presence of the jury to determine whether [the advice-of-
counsel defense] is valid.” (Tr. 24.)
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      IV.      Conclusion

         For the foregoing reasons, the Court should permit the Government to seek the Court’s
permission to offer evidence of the defendant’s failure to file tax returns in the event that the
defendant further opens the door to such evidence through argument or questioning of witnesses,
or if the defendant elects to testify at trial.

                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney



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